Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 1 of 85 Page ID
                                 #:1200




                          EXHIBIT A
n COPYCase 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 2 of 85 Page ID



         DV-100
                                       #:1201

                                             Request for Domestic
                                             Violence Restraining Order
                                                                                                  Clerk stamps date here when form is filed.



 You must also complete Form CLETS-001, Confidential CLETS Information,                                 CONFORMED COPY
                                                                                                         ORIGINAL FILED
 and give it to the clerk when youfile this Request.                                                  Superior Court of California

0      Name of Person Asking for Protection:                                                            County of Los Angeles

           Lindsey Hill                                                   Age: 27                              JUN 2 9 2021
          Your lawyer in this case (ifyou have one):
                                                                                                                               Olticer/Clerk of Court
          Name: Marc H. Garelick, Esq.              State Bar No.: 258278                         Sherri il. Carter, Executive
          Firm Name:    Meyer,  Olson,  Lowy & Meyers, LLP                                              By: Mayra Salazar, Deputy
          Address (Ifyou have a lawyerfor this case, give your lawyer's
          information. Ifyou do not have a lawyer and want to keep your home                   Fill in court name and street address:
          address private, give a dfferent mailing address instead. You do not have             Superior Court of California, County of
          to give your telephone, fax, or e-mail.):
          Address: 10100 Santa Monica Boulevard, Suite 1425                                       Los Angeles Superior Court
          City: Los Angeles                  State: CA          Zip: 90067                        111 N. Hill Street
          Telephone: (310) 277-9747                   Fax:(310) 277-4847                          Los Angeles, CA 90012
          E-Mail Address: mg@molfamlaw.com
                                                                                               Court fills in case number when form is filed.
          Name of Person You Want Protection From:                                              Case Number:
          Trevor Bauer
          Description of person you want protection from:
                                                                                                        21STRU03198
             Sex: NMOF           Height: 6-1                     Weight: 190           Hair Color: Brown      Eye Color: Brown
             Race: Caucasian                                                       Age:30       Date of Birth: January 17, 1991
             Address (if known):
             City: Pasadena                                                           State: CA                      Zip:

O         Do you want an order to protect family or household members? O Yes Z No
          Ifyes, list them
                          Full name               Sex         Age      Lives with you?       Relationship to you
                                                                      ii Yes O No
                                                                      O Yes ❑ No
                                                                      O Yes O No
          O Check here ifyou need more space. Attach a sheet ofpaper and write "DV-100, Protected People"for a title.
0        What is your relationship to the person in                            ? (Check all that apply):
          a. O We are now married or registered domestic partners.             Ifyou do not have one of these relationships,
          b. 0 We used to be married or registered domestic partners.           the court may not be able to consider your
          c. p We live together.                                                request. Read Form DV-500-INFOfor help.
          d. ❑ We used to live together.
          e. O We are related by blood, marriage, or adoption (specify relationship):
          f.   We are dating or used to date, or we are or used to be engaged to be married.
          g. ❑ We are the parents together of a child or children under 18:
                Child's Name:                                                        Date of Birth:
                Child's Name:                                                        Date of Birth:
                Child's Name:                                                        Date of Birth:
             ❑ Check here ifyou need more space. Attach a sheet ofpaper and write "DV-100, Additional Children"for a
                title.
          h. O We have signed a Voluntary Declaration of Paternity for our child or children. (Attach a copy ifyou have
               one
                                              This is not a Court Order.
Judicial Council of California, www cowls ca.gov   Request for Domestic Violence Restraining Order                              DV-100, Page 1 of 6
Revised July 1, 2016, Mandatory Form
Family Code, § 6200 et seq-                                   (Domestic Violence Prevention)
                                                                                                                            American LeplNei, Inc. O
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      Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 3 of 85 Page ID
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                                                                                           Case Number:



         Other Restraining Orders and Court Cases
         a. Are there any restraining/protective orders currently in place OR that have expired in the last six months
            (emergency protective orders, criminal, juvenile, family)?
            Z No O Yes (date of order):                   and (expiration date):             (Attach a copy ifyou have one).
         b. Have you or any other person, named in® been involved in another court case with the person in®?
            1E) No D Yes Ifyes, check each kind of case and indicate where and when each wasfiled:
                  Kind of Case                        County or Tribe Where Filed Year Filed         Case Number (if known)
               I] Divorce, Nullity, Legal Separation
               D Civil Harassment
               O Domestic Violence
               D Criminal
               ❑ Juvenile, Dependency, Guardianship
               D Child Support
               n Parentage, Paternity
               El Other (specy):
               D Check here ifyou need more space. Attach a sheet ofpaper and write "DV-100, Other Court Cases"for a
                  title.
Check the orders you want. Ef
   M Personal Conduct Orders
0 I ask the court to order the person in ® not to do the following things to me or anyone listed in®:
         a. Z   Harass, attack, strike, threaten assault (sexually or otherwise), hit, follow, stalk, molest, destroy personal
                property, disturb the peace, keep under surveillance, impersonate (on the Internet, electronically or
                otherwise), or block movements
         b. Z Contact, either directly or indirectly, in any way, including but not limited to, by telephone, mail or e-mail
                or other electronic means
            The person in ® will be ordered not to take any action to get the addresses or locations of any protected
            person unless the court finds good cause not to make the order.
         El Stay-Away Order
         a. I ask the court to order the person in 0 to stay at least          yards away from (check all that apply):
            [S] Me                                  My school
             Z My home                            0 Each person listed in
                My job or workplace               D The child(ren)'s school or child care
             Z My vehicle                         O Other (specift):
         b. If the person listed in ® is ordered to stay away from all the places listed above, will he or she still be able to
             get to his or her home, school, job, workplace, or vehicle?          Z Yes El No (If no, explain):



0 El Move    -Out Order
     (If the person in O lives with you and you want that person to stay awayfrom your home, you must askfor
               this move-out order.)
               I ask the court to order the person in      to move out from and not return to (address):


               I have the right to live at the above address because (explain):



                                                    his is not a Court Order.
Revised July 1, 2016
                                     Request for Domestic Violence Restraining Order                             DV-100, Page 2 of 6
                                                        (Domestic Violence Prevention)
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      Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 4 of 85 Page ID
                                       #:1203
                                                                                          Case Number:


     Guns or Other Firearms or Ammunition
     I believe the person in O owns or possesses guns, firearms, or ammunition. 0 Yes El No              El I don't know
     If the judge approves border, the person in   C)  will be ordered not to own, possess purchase, or receive a
    firearm or ammunition. The person will be ordered to sell to, or store with, a licensed gun dealer, or turn in to law
     enforcement, any guns orfirearms that he or she owns or possesses.
 10 Z Record Unlawful Communications
         I ask for the right to record communications made to me by the person in 02 that violate the judge's orders.

 11    ❑ Care of Animals
          I ask for the sole possession, care, and control of the animals listed below. I ask the court to order the person in
          O to stay at least             yards away from and not take, sell, transfer, encumber, conceal, molest, attack,
          strike, threaten, harm, or otherwise dispose of the following animals:


          I ask for the animals to be with me because:



0      El Child Custody and Visitation
       a. ❑ I do not have a child custody or visitation order and I want one.
       b. 0 I have a child custody or visitation order and I want it changed.
       Ifyou askfor orders, you mustfill out and attach Form DV-105, Request for Child Custody and Visitation Orders.
       You and the other parent may tell the court that you want to be legal parents of the children (use Form DV-180,
       Agreement and Judgment of Parentage).
0      ❑ Child Support (Check all that apply):
       a. ❑ I do not have a child support order and I want one.
       b. 0 I have a child support order and I want it changed.
       c. ❑ I now receive or have applied for TANF, Welfare, CalWORKS, or Medi-Cal.
       Ifyou askfor child support orders, you mustfill out and attach form FL-150, Income and Expense Declaration or
       Form FL-155, Financial Statement (Simplified).
®      O Property Control
         I ask the court to give only me temporary use, possession, and control of the property listed here:



0      E] Debt Payment
          I ask the court to order the person in O to make these payments while the order is in effect:
          0 Check here ifyou need more space. Attach a sheet ofpaper and write "DV-100, Debt Payment"for a title.
          Pay to:                              For:                Amount: $             Due date:
8 o IProperty  Restraint
      am married to or have a registered domestic partnership with the person in O . I ask the judge to order
                that the person inO not borrow against, sell, hide, or get rid of or destroy any possessions or property, except
                 in the usual course business or for necessities of life. I also ask the judge to order the person in lto notify
                me of any new or big expenses and to explain them to the court.

CD ❑             Spousal Support
                I am married to or have a registered domestic artnership with the person in O and no spousal support order
               exists. I ask the court to order the person in 22 to pay spousal support. (You must complete, file, and serve Form
               FL-150, Income and Expense Declaration, be ore our hearin:).
                                                     This is not a Court Order.
Revised July 1, 2016
                                       Request for Domestic Violence Restraining Order                            DV-100, Page 3 of 6
                                                      (Domestic Violence Prevention)
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      Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 5 of 85 Page ID
                                       #:1204
                                                                                          Case Number:



 18 El Rights to Mobile Device and Wireless Phone Account
          a. ❑ Property control of mobile device and wireless phone account
             I ask the court to give only me temporary use, possession, and control of the following mobile devices:
                                                                                    and the wireless phone account for the
              following wireless phone numbers because the account currently belongs to the person in O :
              (including area code):                                   ❑ my number         El number of child in my care
              (including area code):                                   ❑ my number         111 number of child in my care
              (including area code):                                   ❑ my number         ❑ number of child in my care
              11] Check here ifyou need more space. Attach a sheet ofpaper and write "DV-100, Rights to Mobile Device
                  and Wireless Phone Account"for a title.
          b. El Debt Payment
              I ask the court to order the person in 0 to make the payments for the wireless phone accounts listed in 18a
              because:
              Name of the wireless service provider is:                      Amount: $               Due Date:
              Ifyou are requesting this order, you must complete, file, and serve Form FL-150, Income and Expense
              Declaration, before your hearing.
          c. ❑ Transfer of Wireless Phone Account
              I ask the court to order the wireless service provider to transfer the billing responsibility and rights to the
              wireless phone numbers listed in 18a to me because the account currently belongs to the person inO .
              If the judge makes this order, you will be financially responsible for these accounts, including monthly service
             fees and costs of any mobile devices connected to these phone numbers. You may be responsible for other fees.
              You must contact the wireless service provider tofind out whatfees you will be responsible for and whether you
              are eligible for an account.
 qg      ri IInsurance
              ask the court to order the person in 02 NOT to    cash, borrow against, cancel, transfer, dispose of, or change the
               beneficiaries of any insurance or coverage held for the benefit of me or the person in° , or our child(ren), for
               whom support may be ordered, or both.
               Lawyer's Fees and Costs
               I ask that the person in O pay some or all of my lawyer's fees and costs.
               You must complete, file and serve form FL-150, Income and Expense Declaration, before your hearing.

8 O Payments for Costs and Services
               I ask the court to order the person in O to pay the following:
               You can askfor lost earnings or your costsfor services caused directly by the person inC) (damaged property,
               medical care, counseling, temporary housing, etc.). You must bring proof of these expenses to your hearing.
               Pay to:                                                  For:                         Amount: $
               Pay to:                                                    For:                         Amount: $

O E IBatterer  Intervention Program
     ask the court to order the person listed in O to go to a 52-week barterer intervention program and show proof
            of completion to the court.
O         ❑ Other Orders
               What other orders are you asking for?




              ❑ Check here ifyou need more space. Attach a sheet o a ,er and write "DV-100, Other Orders"for a title.
                                              This is not a Court Order.
Revised July 1, 2016
                                    Request for Domestic Violence Restraining Order                              DV-100, Page 4 of 6
                                                    (Domestic Violence Prevention)
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      Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 6 of 85 Page ID
                                       #:1205

                                                                                          Case Number:




CD El The
      Time for Service (Notice)
          papers must be personally served on the person in 0 at least five days before the hearing, unless the
               court orders a shorter timefor service. Ifyou want then to be fewer than five days between service and the
               hearing, explain why below. For help read Form DV-200-INFO, "What Is Proof of Personal Service"?



 25       No Fee to Serve (Notify) Restrained Person
          Ifyou want the sherff or marshal to serve (not ) the restrained person about the orders for free, ask the court
          clerk what you need to do.

          Court Hearing
          The court will schedule a hearing on your request. If the judge does not make the orders effective right away
          ("temporary restraining orders"), the judge may still make the orders after the hearing. If the judge does not make
          the orders effective right away, you can ask the court to cancel the hearing. Read form DV-I 12, Waiver of Hearing
          on Denied Requestfor Temporary Restraining Order, for more information.

 27       Describe Abuse
          Describe how the person in °abused you. Abuse means to intentionally or recklessly cause or attempt to cause
          bodily injury to you; or to place you or another person in reasonable fear of imminent serious bodily injury; or to
          harass, attack, strike, threaten, assault (sexually or otherwise), hit, follow, stalk, molest, keep you under
          surveillance, impersonate (on the Internet, electronically or otherwise), batter, telephone, or contact you; or to
          disturb your peace; or to destroy your personal property. (For a complete definition, see Fam. Code, §§ 6203, 6320.)
          a. Date of most recent abuse: See attached Declaration of Lindsey Hill
                1. Who was there? See attached Declaration of Lindsey Hill
                2. Describe how the person in O abused you or your child(ren):
                   See attached Declaration of Lindsey Hill




                       Ej Check here ifyou need more space. Attach a sheet ofpaper and write "DV-.100, Recent Abuse"for a title.
               3. Did the person inO use or threaten to use a gun or any other weapon?       El No Z Yes (Ifyes, describe):
                  See attached Declaration of Lindsey Hill


               4. Describe any injuries: See attached Declaration of Lindsey Hill
                   See attached Declaration of Lindsey Hill


               5. Did the police come?       Z No      ❑ Yes
                       If yes, did they give you or the person in() an Emergency Protective Order? El Yes Z No ❑ I don't know
                       Attach a copy ifyou have one.
                       The order protects El you or         El the person in CD
                                                 This is not a Court Order.
Revised July 1, 2016                                                                                             DV-100, Page 5 of 6
                                        Request for Domestic Violence Restraining Order
                                                      (Domestic Violence Prevention)
                                                                                                             American LeoniNer, Inc,
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                                                                                                             HMV.'
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                                       #:1206

                                                                                              Case Number:




 27       Describe Abuse (continued)
          Has the person in° abused you (or your child(ren)) other times?
            b. Date of abuse: See attached Declaration of Lindsey Hill
                1. Who was there? See attached Declaration of Lindsey Hill
                2. Describe how the person in O abused you or your child(ren):
                    See attached Declaration of Lindsey Hill




                          El Check here ifyou need more space. Attach a sheet ofpaper and write "DV-100, Recent Abuse"for a
                             title.
                       3. Did the person in O use or threaten to use a gun or any other weapon? 1:1 No z Yes (Ifyes, describe):
                          See attached Declaration of Lindsey Hill
                       4. Describe any injuries: See attached Declaration of Lindsey Hill


                       5. Did the police come?         No ❑ Yes
                          If yes, did they give you or the person in 0   an Emergency Protective Order?
                          Elj Yes Z No n I don't know Attach a copy ifyou have one.
                          The order protects ❑ you or       lE] the person in 0
                          If the person in 0 abused you other times, check here LI and use Form DV-101, Description of Abuse
                          or describe any previous abuse on an attached sheet ofpaper and write "DV-100, Previous Abuse"for a
                          title.

ED        Other Persons to Be Protected
          The persons listed in item ® need an order for protection because (describe):




O Number of pages attached to this form, if any: 9
I declare under penalty of perjury under the laws of the State of California that the information above is true and correct.
Date: June 28, 2021

LINDSEY HILL
Type or print your name                                                      Sign   rr n me
Date: June 28, 2021
MARC H. GARELICK, ESQ.
Lawyer's name, ifyou have one                                                           'nature
                                                         his is not a Court Order.

Revised July 1, 2016
                                         Request for Domestic Violence Restraining Order                          DV-100, Page 6 of 6
                                                        (Domestic Violence Prevention)
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                                                                               Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 8 of 85 Page ID
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                                                                                                 1                               DECLARATION OF LINDSEY HILL
                                                                                                 2                                    ATTACHMENT TO DV-100
                                                                                                 3          I, Lindsey Hill, declare as follows:
                                                                                                 4          1.     I am the Petitioner in the above-entitled matter. If called upon as a witness, I
                                                                                                 5 could and would testify competently to the following:
                                                                                                 6         2.      I submit this declaration in support of my Request for Domestic Violence
                                                                                                 7 Restraining Orders against Respondent, Trevor Bauer.
                                                                                                 8         3.      I reside in San Diego and am 27-years-old. On April 18, 2021, I posted a
                                                                                                 9 story on the social media application, Instagram, of the Padres versus Dodgers game at
                                                                                                10 Petco Park in San Diego, while I was watching the game from home. I tagged "Trevor
                                   3161 Michelson Drive, Suite 1160, Irvine, California 92612




                                                                                                11 Bauer," a pitcher for the Dodgers who was the starting pitcher that game, in my "story." At
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                                                                                                12 the time of my post, I had never met or spoken with Trevor, and we had no prior
                                                                                                13 relationship. I did not "tag" Trevor with the expectation that he would get into contact with
                                                                                                14 me, although I am aware that when a person is "tagged" on Instagram, that individual will
                                                                                                15 receive a notification. I am a baseball fan and, oftentimes, tag different players, much like
                                                                                                16 many other fans do.
                                                                                                17         4.      After the game, Trevor replied to my story through a direct message on
                                                                                                18 Instagram. Thereafter, we continued communicating via Instagram direct message for the
                                                                                                19 next couple of days. We discussed how the game went and about baseball in general. As
                                                                                                20 we kept messaging using baseball metaphors, we discussed hanging out. On April 18,
                                                                                                21 2021, Trevor invited me to visit him at his home in Pasadena after the Dodgers' road trip
                                                                                                22 concluded. I agreed to visit. The Instagram messages between Trevor and I are attached
                                                                                                23 as Exhibit "1."
                                                                                                24         5.      On April 21, 2021, I drove from my home in San Diego to Los Angeles to
                                                                                                25 meet Trevor. I arrived at his home at approximately 9:30 p.m. We went into his downstairs
                                                                                                26 living room and spoke for a couple hours. We had a very nice conversation, during which
                                                                                                27 time we got to know each other. We discussed baseball, and childhood memories. I was
                                                                                                28   very open and honest with Trevor. We discussed my sobriety and history. I have been
                                                                                                                                                   1
                                                                                                     IN Rt MAT1LK VI- HILL/BAULK                                    LILCLAKA1ION Of- LINUbLY HILL
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                                                                                                             #:1208




                                                                                           1 sober for 17-months and remain sober. Trevor was very kind and supportive during this
                                                                                           2 conversation.
                                                                                           3          6.     At approximately 2:00 a.m., Trevor invited me to sleep upstairs in his
                                                                                           4 bedroom. He gave me the option of sleeping in his bed with him. I was comfortable with
                                                                                           5 the situation after hours of good conversation, so I agreed to sleep in his bed. We cuddled
                                                                                           6 and continued to talk for approximately thirty minutes. He began kissing me, which led to
                                                                                           7 consensual sex.
                                                                                           8          7.     He became slightly aggressive during sex as he began grabbing me, moving
                                                                                           9 my body and pulling my hair. He asked me, "What do you like?" Noticing that he preferred
                                                                                          10 being aggressive, I told him that it was okay to be "a little rough." I asked him what he liked
                                                                                          11 and he replied, "rougher than you." Our encounter was still consensual and non-
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                                   3161 Michelson Drive, Suite 1160, Irvine, California




                                                                                          12 threatening at this point.
                                                                                          13          8.     He then asked me if I had ever been choked before during sex. I responded
                                                                                          14 yes, meaning that his putting his hands around my neck and applying light pressure. We
                                                                                          15 continued having sex. Trevor then began putting his fingers down my throat in an
                                                                                          16 aggressive manner. I had to ask him to stop. He stopped, but then without asking me or
                                                                                          17 telling me in advance, he wrapped my hair around my neck and choked me. I lost
                                                                                          18 consciousness. Attached as Exhibit "2" is a photo of me during the time frame I saw
                                                                                          19 Trevor to show the Court the length of my hair.
                                                                                          20          9.     I don't know exactly how long I was unconscious. I woke up face down on
                                                                                          21 the bed, disoriented. I began realizing that he was having sex with me in my anus, which I
                                                                                          22 never communicated that I wanted nor did I consent. It was extremely painful. I was, at
                                                                                          23 first, still disoriented and unable to speak. As soon as I was able, I said "Can we stop." and
                                                                                          24 he immediately did. He then held me very tightly while I was still disoriented. I think he
                                                                                          25 noticed that I was shaken up.
                                                                                          26          10.   After a minute or so, Trevor continued to try to re-initiate sex, but I resisted
                                                                                          27 because I felt sick from losing consciousness and had a lot of pain in my anus. He kept
                                                                                          28 kissing and touching me all over my body, as if he was waiting and initiating to have sex
                                                                                                                                            2
                                                                                               lisTREATATTEWOF—FfILIIECAIIER                                  Oki-LANA I ION OF LINUStY Hitt
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                                              Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 10 of 85 Page ID
                                                                                #:1209




                                                                                                 1 again. I kept repeating that "I needed a minute." He kept asking "Are you okay?" while

                                                                                                 2   continuing to try to initiate sex for the entirety of this time. His concern seemed
                                                                                                 3   disingenuous, manipulative and fake. This continued for approximately 15-minutes. Trevor
                                                                                                 4   then rolled me over onto my back and started kissing me. We proceeded to resume
                                                                                                 5   vaginal sex for approximately five minutes. After we stopped having sex, I got up to use
                                                                                                 6   the bathroom. I noticed I was bleeding from my anus and I was barely able to walk. I was

                                                                                                 7   still shaken up and extremely tired. Trevor had seemed like he was going to sleep, so I

                                                                                                 8   decided to go to sleep in Trevor's bed. In my state at that time, I did not think Trevor was a
                                                                                                 9   threat to do anything against my will for the remainder of the night.
                                                                                                10          11.    We slept in until approximately 11:00 a.m. When we woke up, Trevor
                                   3161 Michelson Drive, Suite 1160, Irvine, California 92612




                                                                                                11 laughed and said to me in a joking manner, "You feeling a little sore this morning?" It was
MEYER, OLS0N, LOWY & MEYERS, LLP




                                                                                                12   hard for me to speak up because I was taken back by him laughing about the matter and

                                                                                                13 making a joke out of this. I told him I was very sore and did not enjoy when he commenced

                                                                                                14   anal sex. He seemed to be understanding. I left about an hour later.

                                                                                                15          12.    We continued to communicate for the next three weeks over Instagram and
                                                                                                16   text message. We discussed subjects like baseball and my new job. We also

                                                                                                17   communicated in a sexual nature. Attached as Exhibit "3" are messages between me and

                                                                                                18   Trevor.
                                                                                                19          13.    On the night of Saturday, May 15th, Trevor invited me to his house. I arrived
                                                                                                20   at his home at approximately midnight (which would be the morning of Sunday the 16th).

                                                                                                21 Trevor had pitched that night's game and had a really good outing. He was in a very happy

                                                                                                22   and excited mood. We caught up over a couple of hours in his downstairs basement. He
                                                                                                23   started kissing me around 2:00 a.m. and asked if I wanted to go to his room. I agreed. We
                                                                                                24 began having sex. He asked me to agree on a safe word. I wasn't certain if he was joking

                                                                                                25   or not, so I made a joke to lighten the situation and responded, "daddy issues." We both
                                                                                                26   laughed. He then asked me in a serious tone, "What's off limits?" I told him to not put his
                                                                                                27   fingers in my throat. Given our communications the morning following the previous

                                                                                                28 encounter, I thought it was obvious that I would not want to have anal sex. I agreed to
                                                                                                                                                   3
                                                                                                     TN REMA I i hR Ul- HEE/BAUER                                    DEULAKA I ION OF LINDSEY-HILL
  I \WPDATA \ Hill, Lindsey \Pleadings Decl DVRO.Lindsey_3 dccx
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                                                                          #:1210




                                                                                                 1 have consensual sex; however I did not agree or consent to what he did next. I did not
                                                                                                 2   agree to be sexually assaulted.

                                                                                                 3          14.    After about five minutes into sex, he again wrapped his hair around my neck
                                                                                                 4 and choked me. I again lost consciousness. I awoke extremely disoriented. I was so

                                                                                                 5 disoriented I did not remember where I was or who I had been with before I lost
                                                                                                 6 consciousness. I was unable to speak or move my body. As I was trying to regain full

                                                                                                 7   consciousness, Trevor then rolled me onto my back. My head was turned to the left, so
                                                                                                 8 that the right side of my face was on the bed. He resumed to having sex with me again
                                                                                                 9 and then Trevor began punching my face. This was the first punch I felt but it is very
                                                                                                10 possible that Trevor had already been punching and scratching the right side of my face
                                   3161 Michelson Drive, Suite 1160, Irvine, California 92612




                                                                                                11 while I was unconscious.
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                                                                                                12          15.   , Trevor then punched me hard with a closed fist to the left side of my jaw, the
                                                                                                13 left side of my head, and both cheekbones. I remember this vividly and it was extremely
                                                                                                14 startling and painful. I was absolutely frozen and terrified. I could not speak or move. After
                                                                                                15 punching me several times, he then flipped me back onto my stomach, and began choking
                                                                                                16 me with hair. I lost consciousness again. I re-gained consciousness even more
                                                                                                17 disoriented. I had a terrible pain behind both of my ears. I tasted blood in my mouth and
                                                                                                18 felt that my lip was split open. My whole body hurt and I could not even tell if he was
                                                                                                19 having sex with me.
                                                                                                20          16.    I then remember him putting me on my back again. I noticed we were no
                                                                                                21 longer having sex. He opened my legs to expose my vagina and began punching me
                                                                                                22 repeatedly in the vagina. I was crying and violently shaking. He then repeated over and
                                                                                                23 over again "You're safe, I'm here. You're safe." I could not stop crying and shaking, and I
                                                                                                24 couldn't talk so he moved my body again by flipping me onto my stomach, moving my
                                                                                                25 arms above me. He began scratching my back. He then whispered "I would never do
                                                                                                26 those things to you if it wasn't sexually." 1 continued to cry and shake as he scratched my
                                                                                                27 back. He kept repeating, "Talk to me. Can you just talk to me?" I was scared that he would
                                                                                                28 hurt me if I did not say something. I finally was able to stop crying. When I could finally
                                                                                                                                                  4
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                                                                                                 1 speak, I told him "I think my body is having a trauma response." He then asked me, "have
                                                                                                 2   you been hit before?" to which I replied I have not. He then told me he was going to
                                                                                                 3 shower and I responded "okay."
                                                                                                 4          17.    I stayed on the bed as he showered. After he got out, he helped me into the
                                                                                                 5 shower to rinse off as I could not physically walk to the shower on my own. I showered
                                                                                                 6 quickly and got out, frozen and in extreme pain. I was nauseous and dizzy. He looked at
                                                                                                 7 my face in the light and said, "You have a couple of welts. I need to be more careful where
                                                                                                 8 I hit you. I also punched your butt while you were unconscious so you may have a bruise
                                                                                                 9 there." I didn't respond. I went to sit down on the bed. I wanted to drive home but did not
                                                                                                10 think I would be able to physically or mentally drive anywhere. I remained in shock. I told
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                                                                                                11 him I just needed to go to bed, hoping he would fall asleep and I would remain awake until
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                                                                                                12 I felt well enough to leave. He fell asleep at 3:30 a.m. I was extremely anxious and terrified
                                                                                                13 the remainder of the night, but still felt extremely disoriented and I was in significant pain.
                                                                                                14 Attached as Exhibit "4" is a photograph of my face that night.
                                                                                                15          18.     I got out of the bed at 8:30 a.m. when he was still sleeping. It was the
                                                                                                16 earliest I felt physically capable of leaving. He woke up when I was trying to quietly exit his
                                                                                                17   bedroom door. He said, "How are you feeling this morning?" I quietly responded, "I'm fine"
                                                                                                18 and I left immediately.
                                                                                                19          19.    I drove home to San Diego. I continued to be in shock, horrified and
                                                                                                20 embarrassed. When I got home, I went to sleep. I woke up Monday morning and was in
                                                                                                21 even more pain than the previous night. I had two dark black eyes and a completely
                                                                                                22 swollen jaw and cheekbones. I had over ten dark red and scabbed scratches from
                                                                                                23 fingernails on the right side of my face that covered my entire cheek and chin. The lower
                                                                                                24 half of my left gums were bruised black. I had a large bump on the top left side of my head.
                                                                                                25 My upper lip was split open and scabbing and I had a dark bruise covering the left half of
                                                                                                26 my bottom lip. I had severe black bruising over the top of my vagina, and multiple bruises
                                                                                                27 all over the right cheek on my butt. Attached as Exhibit "5" are photographs of my face
                                                                                                28 taken the day after the abuse.
                                                                                                                                                  5
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                                                                                                 1          20.    I threw up violently throughout the day and had severe headaches. I
                                                                                                 2 continued to be disoriented and had difficulty keeping my eyes open and staying awake. I
                                                                                                 3 called my AA sponsor Lisa and told her what had happened. Lisa told me to get help
                                                                                                 4 immediately. I called my best friend Mely and told her I was going to check myself in at the
                                                                                                 5 emergency room. At approximately 4:00 p.m., I drove to the Emergency Room at Alvarado
                                                                                                 6 Hospital Medical Center. When I arrived, I was immediately taken in to do rapid CT scans
                                                                                                 7 of my brain, face and neck. I was asked what happened, and I advised the hospital
                                                                                                 8 psychiatrist and doctor about everything that had happened.
                                                                                                 9          21.    Later, two San Diego Police Department ("SDPD") officers came to speak
                                                                                                10 with me. I told them what happened and how I got my injuries. Later, two separate SDPD
                                   3161 Michelson Drive, Suite 1160, Irvine, California 92612




                                                                                                11 detectives came to take an additional statement. I attempted to downplay what occurred
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                                                                                                12 out of concern for my privacy and what my statements might lead to. I informed medical
                                                                                                13 staff that my injuries were a result of "rough sex." I admitted to being "choked out" and that
                                                                                                14 Trevor was violent during sex. I told them that I did not want to file charges. I told them that
                                                                                                15 the sexual encounter was with a baseball player, but I did not specifically provide them
                                                                                                16 with Trevor's name at this point. I was afraid of the repercussions both in the public eye
                                                                                                17 and my own personal life. I was afraid what Trevor would do if he found out. I remain afraid
                                                                                                18 that Trevor will find me and hurt me for going to the hospital.
                                                                                                19         22.     I was diagnosed with an acute head injury and assault by manual
                                                                                                20 strangulation. The May 17th After-visit Summary from Alvarado Hospital Medical Center is
                                                                                                21 attached as Exhibit "6." The medical exam recognized ecchymoses on my cheek and
                                                                                                22 orbital bone, as well as above my vagina, on my labia and buttocks. The medical notes
                                                                                                23 further state that I "sustained significant head and facial trauma" and that there were signs
                                                                                                24 of a basilar skull fracture. I have weighed whether to include medical notes in these
                                                                                                25 pleadings, but have decided to in order to fully explain the seriousness of what occurred. I
                                                                                                26 do not waive my medical history, but want to provide the Court with the medical notes
                                                                                                27 relating to this incident.
                                                                                                28         23.    I was transported by the SDPD police car to another hospital (Palomar
                                                                                                                                                  6
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                                      1 Health in Escondido) for a "SART exam," and was examined by a nurse who told me that

                                      2   she specializes in sexual assault examinations. Medical personnel photographed my entire
                                      3   body. I have requested these photographs but am not currently in possession of them. I
                                      4 returned from the hospital at approximately 7:00 a.m. on Tuesday morning (May 18th). At

                                      5 approximately 10:00 a.m., two detectives from the Pasadena Police Department arrived at

                                      6 my house, and I gave an additional statement. I took pictures of my face that Tuesday May

                                      7   18th, which are attached as Exhibit "7."
                                      8          24.    Three days later, that Friday May 21st, I drove to the Pasadena Police
                                      9 Department to conduct a "cold call." The police wanted to record a phone call between

                                     10 Trevor and I. Since the incident occurred, Trevor had been messaging me nonstop asking

                                     11 me if I was okay. The Pasadena police had me send a text to Trevor stating "Sorry for the
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                                     12 late response I was mostly sleeping all day yesterday." Trevor replied "Do you want to talk

                                     13 about it?" Under the police's instructions, I replied "Yeah honestly hearing your voice would

                                     14 help." My text messages with Trevor sent at the instruction of the police are attached as

                                     15 Exhibit "8."

                                     16          25.    Trevor then called me and the police recorded the entire conversation and

                                     17 instructed me on what to say during the call. The detectives instructed me that I could lie

                                     18 or cry to try to get Trevor to admit what he had done to me. To not sound scripted, I began

                                     19 the conversation with Trevor asking about the previous evening's baseball game. After

                                     20 Trevor asked me what was wrong, I followed the detectives' script and asked him "What

                                     21 did you do to me when I was unconscious?" He only admitted to punching my butt

                                     22 repeatedly. When I said that "I didn't ask to be punched" and that "This was not a free for

                                     23 all", Trevor attempted to change the topic from him punching me and said "I was trying to

                                     24 follow your lead." At the end of the phone call, at the police's instructions, I said "Thank

                                     25 you for acknowledging what you did to me." Trevor acknowledged it and asked how we

                                     26 could move forward and asked if he could still reach out. I told him that he could because I

                                     27 did not know if the police still needed to collect more messages from him as evidence. It is

                                     28 my understanding that there is an open criminal investigation. I have not been informed
                                                                                       7
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                                          1 whether the proper authorities intend to arrest and press charges against Trevor. I intend

                                          2   to comply with whatever is requested of me in connection with criminal proceedings. As

                                          3   the shock has worn off, I recognize the seriousness of the sexual assault I endured. I do

                                          4 not want Trevor to put anyone else through what I suffered.

                                          5          26.    After our second encounter, Trevor texted and called me nonstop for
                                          6 approximately two weeks. I informed him that I was seen by the doctor and was told the

                                          7 bruises and swelling on my face and jaw would be gone in about a week. I was unsure
                                          8 how long I would have the head symptoms for. Trevor responded "I feel so bad that this

                                          9 happened. Wish I could be there with you through it." The text message is attached as

                                         10 Exhibit "9."

                                         11          27.    When I did not answer calls, he left me voicemails. On May 17, 2021 at
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                                   CT,


                                         12 11:18 p.m., Trevor left me a voicemail saying he was worried about me and wants me to

                                         13   call or text him back because he would like to talk. A screenshot of the voicemail from
                                   6
                                         14   Trevor is attached as Exhibit "10." His texts included telling me how much he cares about

                                     15 me, he did not want to see me hurting, and he offered to help me financially because I was
                                   U
                                   = 16 unable to work due to my injuries. He even offered to send groceries to my home. I kept

                                         17 my texts brief, responding "no" to his inquiries. The text message from Trevor is attached

                                         18 as Exhibit "11."

                                         19          28.    On June 3, 2021, I followed up with my primary care doctor at the Scripps
                                         20 Clinic in Carmel Valley. A follow up MRI was ordered and I was referred for a neurological

                                         21 consult. My June 31d after visit summary is attached as Exhibit "12."

                                         22          29.    I have waited to bring this request for Domestic Violence Restraining Orders
                                         23 to see how the criminal investigation would proceed. I am deeply concerned that no arrest

                                         24 has been made or charges filed. I feel isolated having to respond to Trevor's texts and I

                                         25 suffer extreme stress and anxiety when he sends me messages. I am scared and in fear. I

                                         26 have not asked him to stop contacting me because I fear what he will do. One of the last

                                         27 messages I sent him was "I appreciate all of your offers to help, but the best way you can

                                         28 help me is to never to do that to anyone else ever again." To this, Trevor responded, "I
                                                                                          8
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                                           #:1215




                                                                  1 would never do anything to hurt anyone. That includes you."

                                                                  2         30.    I am terrified that he will again invite me to his home or how he will respond if
                                                                  3 I say no. I want Trevor to cease contacting me, entirely, I must ensure that he does not

                                                                  4   come to my home, or anywhere near me. I do not want to me contacted by anyone on his
                                                                  5 behalf. I have been physically harmed, and traumatized. I have been diagnosed with

                                                                  6 PTSD and experience severe trauma. I am unable to sleep or eat. I am in constant fear. I

                                                                  7 am severely depressed and feel isolated and lonely. I am absolutely terrified of what will

                                                                  8   happen when all of this becomes public because he is a large public figure. Trevor has a

                                                                  9 large following of loyal fans who I fear will threaten me and resort to social media bashing.

                                                                 10 I am concerned about my safety.
    3161 Michelson Drive, Suite 1160, Irvine, California 92612




                                                                 11         I declare under penalty of perjury under the laws of the State of California that the

                                                                 12 foregoing is true and correct.

                                                                 13         Executed on June   n 2021, at Los Angeles, California.
                                                                 14

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                                                                                                                                     LI   SEY HILL
                                                                 16

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                           Exhibit 1
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                                  #:1217


                     5:41                                                      LTE


                                baueroutage                    O3          P

                                                 4:50 PM



                          Mmmm nice try but not quite. Maybe next
                          time


                                 Just watch out for me for the rest of the
                                 season, my third eye meditations are pretty
                                 powerful


                                     Also *digital handshake, nice to meet you
                                     Bauer I'm Lindsey


                                     Yo 11/10 execution on the "safe" call when
                                     Turner biffed 3rd tho


                          I'm more of a hug type of guy lol but thank

                8         you


                         (Message.                                 Leo
                QWE                      R       T     Y       U       I       O         P

                     A      S     D          F       GH            J       K         L

                 t          Z        X       CV            B       NM                ,C)

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                                  #:1218


                   6:15                                         •I     LTE •


                              baueroutage               O3       13 0
                       time


                               Just watch out for me for the rest of the
                               season, my third eye meditations are pretty
                               powerful


                                Also *digital handshake, nice to meet you
                                Bauer I'm Lindsey


                                Yo 11/10 execution on the "safe" call when
                                Turner biffed 3rd tho


                       I'm more of a hug type of guy lol but thank

                8      you


                                 Love this for us, we can agree on the hug
                                 being the best introduction method


                                     And of course lots needed to throw a
                                     complimentary jab in there after I
                                     presented the original rattled roast


                       Strike one on the rattle roast honestly. Fell
                       a little short of the zone ya know?


                                                     Next roast will be sick


                                             Riff you with some chin music


                                   Make sure to swing at it like manny did
                                   today


                     Message                               6 ao
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                     6:25                                                .1 LTE


                             baueroutage                                   P

                 <
                                                  Riff you with some chin music


                                      Make sure to swing at it like manny did
                                      today


                        Eh, I usually don't miss


                       Roast ya boy though for this https://
                       twitter.com/baueroutage/status/
                       1383940460050227205?s=21



                                                                               LI




                                                                                    V


                                             2020

                        Trevor Bauer (1.- 1./X— • 1'O7—) on Twitter
                        !Whispers 'it was your toe that made the hole homie`
                          https://t.co/zpn R I s9 W6G"




                                I am —deceased at that. And your Manny
                                retweet roast. Snell can go take an english
                                class on public speaking and Manny needs
                                to go grab his boat oar

                                  Im threatened that your roasting skills are
                                  up to par with mine wtf?


                      Message..                                     @
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                                  #:1220


                        7:01                                                      LTE


                                   baueroutage                    O3          P

                    <
                              Usually is phrased either as not up to par
                              or on par with. But I guess combining the
                              two is fine. Two for one special!


                                      Ok, actually so valid. "On par with" must
                                      have slipped my brain lots but I am glad we
                                      came to this conclusion

                                        I love to speak my own language, ya feel?


                              I'm usually not a fan of the feels lol


                                      O0000 thats gonna get ya out on the bump


                                        No feels = suppressed emotion = tension
                                        stored in your body

                                                      So many theories on that

                                                                                        Seen



                            Message..



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                                  #:1221


                   7:331                                         se   LTE


                            baueroutage



                       I'm more on the touchy side of the feels ya
                       know? Helps relieve tension stored in the
                       body so it doesn't get me on the mound


                               Urn duh you are talking to the queen of
                               physical touch. Such a spicy love language


                       Give me all the spice


                                                           retweet, retweet.


                                         Another thing we agree on wowza


                       I mean, that's two things so we're basically
                       at a double already.


                                                  Second base. Thats spicy


                                     Hmmmm what else can we agree on?


                       You're trying to stretch it to a triple huh?
                       That's bold this early in the game


                                 My dads a baseball coach, I was raised to
                                 always score at least a triple


                                 And oh dont worry, we wont reach home
                                 plate on day 1. Need more time for roasts/
                                 sarcasm/picking your brain before that


                     Message..                              O     @
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 23 of 85 Page ID
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                         1:        baueroutage                     Go 12 0
                                      — p a e:oni'D ay: . leev more ime, or rocs_ s
                                        sarcasm/picking your brain before that


                              If a triple is your baseline I might have to
                              add you to the team. That seems pretty

                 8            valuable.


                                                                      Put me in Coach '


                                       III even drop kick Carlos Correa on my way
                                     , to third for you


                              Well, all that's left is the official tryout!




                                                       Tryouts dont scare me Bauer


                                                                                   Bring it


                         Message...                                   Leo
                QWE                       R       T      Y       U       I        O          P

                     A         S      D       F       GH             J        K          L

                 •             Z       XCV                   B       NM

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                                  #:1223


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                                            baueroutage                          D P
                                                                                                 Easy.


                                                              Tryouts dont scare me Bauer


                                                                                             Bring it




                8            I'm willing and able whenever you're ready


                                                                  Pick _.a day arid I am there


                             No problem driving to LA huh?!


                                                             Oh I am a pin) at that drive ft

                                                                                 Love me some LA


                            Well, tryouts as soon as we get back home
                            on Tuesday


                        'Message..                                                Oao
                QWE                              R       T     Y           U         I       O        P

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                   9:041                                         .11 LTE 0-


                 <          baueroutage


                                                   Pick a



                8      No problem driving to LA huh?!


                                              Oh I am al




                       Well, tryouts as soon as we get
                       on Tuesday


                                               ( Taco Tuesday, great choice •


                                                   Sounds like a plan to me!

                                  /,--
                                    The one thing I will not be able to do on
                                    this adventure is eat a dodger dog tho


                       Well it would be late Tuesday night so...

                       If you wanted a dodger dog it would have

                8      to be Thursday lol


                               Oh no like I actually hate dodger dogs
                               thats my staple statement when I set foot
                               in LA hehe

                                  And 0000 yes im down for tuesday or
                                  wednesday whateva works. Do you pitch
                                  next home series then?!


                     Message...
                                                                   00
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                             Exhibit 2
              Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 27 of 85 Page ID
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                            Exhibit 3
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                                  #:1228


                   10:14                                            LTE     i)




                            baueroutage                  D P
                                      Ok tell me your fav conspiracy theory


                                 Best place to start. Tells me a lot aboutchu


                       Oh well, simulation theory. You in or out on
                       that?


                                   I was literally just watching tik toks on
                                   simulation theory today. I think its more
                                   than possible

                                   Most days I am like how could we not be


                                                        Whats your verdict?

                                         New Messages



                       I think it's the most probable thing

                       I also think "god" is a higher dimensional

                 8     species.


                       I think our species, if we survive long
                       enough, will become a truly 4 dimensional
                       species, which will allow us to become the
                       god species for another lower dimensional
                       species that we watch over and study

                       Aliens definitely have visited earth and
                       probably are still here.

                       Not completely against the idea that they
                       helped build the pyramids.


                      Message.                                Leo
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                   1:35                                                    LTE •


                              baueroutage

                         remember? Lol


                                          Hushhhhhh that was back in the day!


                                     Only time I will ever root for the dodgers
                                     novvris when you are out there riffing


                         Haha back in the day!!

                         Funny


                                                       Luv ur sarcasm. Bite me


                         Where


                                              Was a metaphor but in this case,

                                                                       Neck pls


                       'Message...
                                                               Leo
                QWE                   R       T    Y       U       I       O       P

                   A      S      D        F       GH           J       K       L

                          Z      XCV                   B       NM                  C)

                                              space
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                                  #:1230


                    2:324                                                  al LTE        11


                                baueroutage 0                    0 3        12
                                                  2:06 PM



                          Lol nothing about that was a metaphor


                                        Oh you can read my mind? Interesting

                                                                           Id say 50/50

                                                             You are sassy of today
                                                                                        _ .•



                          Just by definition it wasn't a metaphor lol


                                                      Fuck its an idiom you are right

                                                                              Hate you



                                            , itho
                                              o   i
               8          cOi
                                   0.




                        Message.
                                                                    Leo
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                    A      S     D          F         GH           J        K       L

                •          Z      XCV                       B     NMG

                    123                           space                         POW
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 32 of 85 Page ID
                                  #:1231


                    9:26                                        •   IE.' •    4




                            baueroutage 0                        P
                                376K followers • 556 posts
                    You've followed this Instagram account since 2021
                                 You both follow dodgers

                                        View Profile



                                           909 PM



                       Analyze me please lol


                               Only be you said please, I will Ig need
                               more info to analyze.

                               Super interesting process that goes on
                               with emotional reactivity and how we
                               respond when we get emotionally hooked.

                               Emotional hook (trigger button pushed)T- V
                               our brain starts chemically rewarding us
                               for making up stories (based on our core
                               narratives about who we are that
                               developed at an early age) to defend
                               ourselves.

                               So when you identify not only your
                               triggers, but the core narratives about
                               yourself that create the story - you nip the
                               story in the butt and don't react as
                               aggressively.

                               Takes work to re wire your brain and
                               change your core narratives, but its the
                               key to telling your brain to shut da hell up
                               and not lose your shit

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Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 33 of 85 Page ID
                                  #:1232


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                           baueroutage

                              ourselves.

                              So when you identify not only your
                              triggers, but the core narratives about
                              yourself that create the story - you nip the
                              story in the butt and don't react as
                              aggressively.

                              Takes work to re wire your brain and
                              change your core narratives, but its the
                              key to telling your brain to shut da hell up
                              and not lose your shit


                             So much to type omfg wish this was in
                             person lol ok but for example when you
                             were getting bullied when you were young,
                             how did your parents react/support you in
                             it?


                       They got mad for me and tried to support
                       me through it. Said it was going to be

                a      alright and to look towards the future


                                       DING DING DING we have a winner


                                             Ok, now I can do full analysis


                                  Your inner child makes sense to me now


                                   Reporting for duty to analyze and rock
                                   your world for new mental clarity



                8      O000 yes fuck me up


                     Message..,
                                                                a
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 34 of 85 Page ID
                                  #:1233

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                   11:56                                       'I        ,   '




                            baueroutage 4!)                      1:3
                                       baueroutage 0
                      Trevor Bauer (    WI— • A r)7 —) • Instagram
                                393K followers 564 posts
                    You've followed this Instagram account since 2021
                                 You both follow dodgers

                                         View Profile



                                         MAY 4, 9:48 PM



                       Haha not the longest I've received by any
                       means. And just to clarify, my parents
                       weren't mad at me, they were mad that I
                       was being bullied and protective of me.
                       Especially my mom. And supportive in
                       telling me to just keep going and it would
                       get better


                              Ahhhh yes yes. You are such a huge
                              clarification guy. I realized when I read that
                              a second time. Read & typed that all on my
                              sleep meds, give me a gold star. But still,
                              sometimes the "look ahead stay positive"
                              can be no bueno when you are young. My
                              dad said that to me every day too Ima0000

                              But I'm glad you had supportive parents.
                              That explains your sweet/sensitive side.
                              Which don't worry haven't told anyone you
                              are empathetic and cute, don't worry. Cant
                              ruin your twitter image


                       Yeah keep that shit under wraps wouldnt
                       want people to think I'm actually a good
                       person

                     Message..                             oC_JO
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 35 of 85 Page ID
                                  #:1234


                     9:26                                       a 1-• •


                             baueroutage                 D P
                                 376K followers 556 posts
                     You've followed this Instagram account since 2021
                                  You both follow dodgers

                                        View Profile



                                          9.09 PM



                        Analyze me please lot


                               Only be you said please, I will M need
                               more info to analyze.

                               Super interesting process that goes on
                               with emotional reactivity and how we
                               respond when we get emotionally hooked.

                               Emotional hook (trigger button pushed)
                               our brain starts chemically rewarding us
                               for making up stories (based on our core
                               narratives about who we are that
                               developed at an early age) to defend
                               ourselves.

                               So when you identify not only your
                               triggers, but the core narratives about
                               yourself that create the story - you nip the
                               story in the butt and don't react as
                               aggressively.

                               Takes work to re wire your brain and
                               change your core narratives, but its the
                               key to telling your brain to shut da hell up
                               and not lose your shit

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                 0    Message...
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Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 36 of 85 Page ID
                                  #:1235


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                           baueroutage                  O 3     P
                              ourselves

                              So when you identify not only your
                              triggers, but the core narratives about
                              yourself that create the story - you nip the
                              story in the butt and don't react as
                              aggressively.

                              Takes work to re wire your brain and
                              change your core narratives, but its the
                              key to telling your brain to shut da hell up
                              and not lose your shit


                             So much to type omfg wish this was in
                             person lol ok but for example when you
                             were getting bullied when you were young,
                             how did your parents react/support you in
                             it?


                       They got mad for me and tried to support
                       me through it. Said it was going to be
                       alright and to look towards the future


                                      DING DING DING we have a winner


                                             Ok, now I can do full analysis


                                 Your inner child makes sense to me now


                                  Reporting for duty to analyze and rock
                                  your world for new mental clarity


                       O000 yes fuck me up


                     Message.
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Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 37 of 85 Page ID
                                  #:1236


                   11:56


                            baueroutage 0               O 3     P
                                      baueroutage
                     Trevor Bauer (    L./    • I V, 7 —) - Instagram
                                393K followers - 564 posts
                    You've followed this Instagram account since 2021
                                 You both follow dodgers

                                        View Profile



                                       MAY 4,9:48 PM



                       Haha not the longest I've received by any
                       means. And just to clarify, my parents
                       weren't mad at me, they were mad that I
                       was being bullied and protective of me.
                       Especially my mom. And supportive in
                       telling me to just keep going and it would
                       get better


                              Ahhhh yes yes. You are such a huge
                              clarification guy. I realized when I read that
                              a second time. Read & typed that all on my
                              sleep meds, give me a gold star. But still,
                              sometimes the "look ahead stay positive"
                              can he no bueno when you are young. My
                              dad said that to me every day too lma0000

                              But I'm glad you had supportive parents.
                              That explains your sweet/sensitive side.
                              Which don't worry haven't told anyone you
                              are empathetic and cute, don't worry. Cant
                              ruin your twitter image


                       Yeah keep that shit under wraps wouldnt
                       want people to think I'm actually a good
                       person

                     Message...                            Leo
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 38 of 85 Page ID
                                  #:1237

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                    9:26                                       II   ':" •




                            baueroutage
                                376K followers • 556 posts
                    You've followed this Instagram account since 2021
                                 You both follow dodgers

                                       View Profile



                                         9:09 PM




                S      Analyze me please lol


                              Only be you said please, I will Ig need
                              more info to analyze.

                              Super interesting process that goes on
                              with emotional reactivity and how we
                              respond when we get emotionally hooked.

                              Emotional hook (trigger button pushed) r4'
                              our brain starts chemically rewarding us
                              for making up stories (based on our core
                              narratives about who we are that
                              developed at an early age) to defend
                              ourselves.

                              So when you identify not only your
                              triggers, but the core narratives about
                              yourself that create the story - you nip the
                              story in the butt and don't react as
                              aggressively.

                              Takes work to re wire your brain and
                              change your core narratives, but its the
                              key to telling your brain to shut da hell up
                              and not lose your shit

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                     Message..
                                                                B
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 39 of 85 Page ID
                                  #:1238


                   11:56


                            baueroutage •                O3      12
                              Ahhhh yes yes. You are such a huge
                              clarification guy. I realized when I read that
                              a second time. Read & typed that all on my
                              sleep meds, give me a gold star. But still,
                              sometimes the "look ahead stay positive"
                              can be no bueno when you are young. My
                              dad said that to me every day too Ima0000

                              But I'm glad you had supportive parents.
                              That explains your sweet/sensitive side.
                              Which don't worry haven't told anyone you
                              are empathetic and cute, don't worry. Cant
                              ruin your twitter image


                       Yeah keep that shit under wraps wouldnt
                       want people to think I'm actually a good
                       person


                                         Honored to get to see the real TB


                       Everyone does/Not many do


                       Does that make any sense? Haha


                                                  In my brain it does hahaha


                               You reveal what you want to who you want


                                  Cannot even imagine living under such a
                                  microscope like you do my god


                                        MAY 8, 1:19 AM




                     Message...
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Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 40 of 85 Page ID
                                  #:1239


                   11:56                                             A




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                     11,
                     _      baueroutage                           P
                                       MAY 8, 1:19 AM



                       Thought about you tonight. Figured I'd
                       check in and see how you're doin


                                       MAY 8, 10:51 AM



                              TB! I think of you often. I'm actually super
                              good, our new business for the recovery
                              house just opened and the property is
                              unreal. Living my dream out for real . But
                              other than that, still just trying to figure out
                              the Universe and my existence 24/7 you
                              know how it goes. & Turning 27 on Monday
                              FTW

                               But more importantly how are you? How's
                               your heart & brain?, and what have you
                               been curious about


                                       MAY 8, 12:03 PM



                       Hey 27 congrats! got any big plans?!

                       Happy to hear you're off to a good start
                       with the new property!

                       I'm good tho. Over here trying to figure out
                       how to wake the team up and win some
                       games cuz damn we freaking suckkkkk
                       right now


                                Lols just lucky to be alive! Got 2/9 of my
                                lives left I think. And im just celebrating
                                this whole weekend with my peeps.
                                Sipping on red bull only the whole time.

                     Message...
                                                            14/5 C3
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 41 of 85 Page ID
                                  #:1240


                   11:56


                            baueroutage
                              unrea . lying my ream ou or rea :u
                              other than that, still just trying to figure out
                              the Universe and my existence 24/7 you
                              know how it goes. & Turning 27 on Monday
                              FTW

                                But more importantly how are you? How's
                                your heart & brain?, and what have you
                                been curious about


                                       MAY 8, 12'03 PM


                       Hey 27 congrats! got any big plans?!

                       Happy to hear you're off to a good start
                       with the new property!

                       I'm good tho. Over here trying to figure out
                       how to wake the team up and win some
                       games cuz damn we freaking suckkkkk
                       right now


                                Lols just lucky to be alive! Got 2/9 of my
                                lives left I think. And im just celebrating
                                this whole weekend with my peeps.
                                Sipping on red bull only the whole time.
                                Hang with me next week to celebrate?


                              And oh my god I know I have been keeping
                              up with the doyers what is going on?
                              Offense is brutal. Is it Dave Roberts being
                              rattled or what?


                                   Also feel free to send your answers to
                                   8582136648


                     Message.
                                                            Leo
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 42 of 85 Page ID
                                  #:1241


                    1:51                                      se LTE


                 <0
                                         Trevor >



                                                         Yes yes & yes

                   Mmmm. Do you even know what pain is?




                  Well you'd have to be here for me to show
                  you




                                *Pay
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 43 of 85 Page ID
                                  #:1242


                     2:53                                                .11:


                 <0
                                             Trevor >


                               It's so bad seriously fuck addiction. Just
                               pushes me to go more beast mode in my
                               work in sobriety world

                               And im glad you are doing good. Big
                               rawrrrr energy. That's what I like to hear.
                               Excited to see you from a very far distance
                               this evening

                                          Today 2:45 PM


                                                         Wreck em tonight Trev


                    Am I wrecking you after the game orrrrr

                    Lol

                    Thanks


                                         Hahahahhaa absolutely you are

                                                                                Delivered




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                    A     S     D        F       GH              J        K           L

                •         Z      X       C       V       B       NM                     C)

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Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 44 of 85 Page ID
                                  #:1243




                             Exhibit 4
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 45 of 85 Page ID
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Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 46 of 85 Page ID
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                             Exhibit 5
    Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 47 of 85 Page ID
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Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 49 of 85 Page ID
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Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 51 of 85 Page ID
                                  #:1250




                             Exhibit 6
    Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 52 of 85 Page ID
                                      #:1251




                                                                                        Alvarado Hospital
      AFTER VISIT SUMMARY                                                               Medical Center
      Lindsey Hill                                                   In 5/17/2021 9 AH Emergency Room 619-229-3130

      Instructions
       4,n    Follow up with AH Emergency Room
              Specialty: Emergency Medicine
              Contact 6655 Alvarado Road
                       San Diego California 92120-5208
                       619-229-3130


              Schedule an appointment with No PCP, MD as soon as pcIsible for a visit



      Today's Visit
      Providers who cared for you today: Brigitte B Korkuch, PA
       Reason for Visit
       • Facial Pain
        • Redal Pain
       Diagnoses' ' •
       '• Acute head injury
•      • Assault by manual strangulation

       Se Lab Tests Completed
          BMP
          POCT pregnancy, urine
          POCT urinalysis dipstick
          URINALYSIS, MICROSCOPIC ONLY
          Urinalysis

       SE Lab Tests in Progress
          CULTURE URINE

       M Imaging Tests
         CT Angiogram Neck W Contrast
         CT Head without Contrast
         CT Maxillofacial Bones without Contrast

          Medications Given
          ibuprofen (ADVIL,MOTRIN) Last given at 10:27 PM
          iohexol (OMNIPAQUE) Last given at 9:06 PM
          sodium chloride 0.9% (NORMAL SALINE) Stopped at 8:53 PM




       Lindsey Hill 11111111inted              at 5/17/21 10:46 PM                                  Page 1 of 5 Etife
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 53 of 85 Page ID
                                  #:1252



     Hill, Lindsey



       CT Head without Contrast
       Status: Finattesult

       PACS Images
           Show images for CT Head without Contrast

       Study Result
         EXAM:
          CT Head Without Intravenous Contrast

         CLINICAL HISTORY:


         Head trauma, repeat vomiting

          TECHNIQUE:
           Axial computed tomography images of the head/brain without intravenous
          contrast CTDI is 70.55 mGy and DLP is 1443 mGy-cm. Numerous low-
          radiation dose strategies were employed including AEC (Automatic Exposure
          Control), individualized BMI-based low dose scan protocols and the exam
          was performed on a CT scanner that is compliant with the NEMA XR-29 Smart
          Dose Standard. DICOM Radiation Dose Structured Reporting capability and
          Dose Check Standard are also features of this scanner.

          COMPARISON:
           No relevant prior studies available.

          FINDINGS:
            Brain: No acute intracranial hemorrhage, mass effect or evidence of
          intracranial edema.
            Ventricles: Unremarkable.
            Bones/joints: Unremarkable. No acute fracture.
           Soft tissues: Unremarkable.
           Sinuses: Unremarkable as visualized.
           Mastoid air cells: No mastoid effusion.
           Orbits: Symmetric.

         IMPRESSION

         No acute intracranial process.

         Electronically signed by Harshawn Malhi, M.D. on 05-17-21 at 2159

         StatRad Exam Id 6654059

       Imaging
         CT Head without Contrast (Order 223599510) - 5/17/2021

      Result History
         CT Head without Contrast (Order #223599510) on 5/17/2021 - Order Result History Report

      Link to IMG Procedure Log
         IMG Procedure Log

      Orders Requiring a Screening Form


     Hill, Lindsey (1111.1111Fd                   by [124810] at 5/17/21 11:21 PM
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 54 of 85 Page ID
                                  #:1253


      Hill, Lindsey 11111.1.11111,


          Procedure                           Order Status                         Form Status
          r CT Head without Contrast          Completed                            Created

        Signed by _                                             _ _ _—
          Signed                                      Date/Time                 Phone             Pager
          MALHI, HARSHAWN                             5/17/2021 21:59           858-546-3800

        Exam Information                                     _
                                                                 Exam                        Exam
          Status_                                                Begun                       Ended
          Final [99]                                             5/17/2021 20:22             5/17/2021 20:59

        IMG Transfer Details
          Transfer Details:
          Please
          answer the
          below
          questions
          about the
          transfer.:

        External Result Report                                    t9 Encounter
           External Result Report                                   View Encounter

         End Exam Questions
                                              Answer                               Comment
           # of repeat films
           Reason for repeat films?
           CTDI:                              70.55
           DIP:                               1443
           Did you shield the patient
          How was the patient shielded
          Burin exam?
          Isotope expiration date?
          Isotope lot #?
          Was procedure discontinued?
          Procedure was discontinued
          Reason procedure was
          discontinued

       Order Requisition
          CT Head without Contrast (Order #223599510) on 5/17/21

       Decision Support

         Appropriateness
         Score                Ordering Provider       _
         9 - Indicated        Brigitte B Korkuch,
                              PA



     Hill, Lindsey                             ed by [124810] at 5/17/21 11:21 PM
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 55 of 85 Page ID
                                  #:1254



     Hill, Lindsey Me               )8) DOB:



         Session ID        Source              CDSM Identifier              Adherence
         183411973    --   T1Veb Service       National Decision Support    Yes (ME)
                                               Company CareSelect (G1004)

         Date Time
         Consulted         Exception           Comment
         05/17/21 19:20:50

       Reason for Exam                                                                  Priority: STAT
         Head trauma, repeat vomiting (Age 19-64y)
         Comments:




    Hill, Lindsey 1111111111nted by [124810] at 5/17/21 11:21 PM
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 56 of 85 Page ID
                                  #:1255


    Name:Hill, Lindsey 11111.11111....                                                                   Page 3 of 7



         Albumin, Urine POC
        Specimen Collected: 05/17/21 19:13                    Last Resulted: 05/17/21 19:20

          a r Lab Flowsheet E Order Details `-lf View Encounter ld Lab and Collection Details F-1. Routing
                                                                                                     Result History



        A POCT pregnancy, urine                                                                    Order: 223599499
        Status: Final result Visible to patient: No (not released) Next a pt: None
                                    Ref Range & Units          5/17/21 1912
        Preg Test, Ur               Negative, Borderline       Negative

        Specimen Collected: 05/17/21 19:12                    Last Resulted: 05/17/21 19:20

               Lab Flowsheet   E Order Details Ai' View Encounter W Lab and Collection Details e4. Routing
                                                                                                     Result History




                                                                                              '0
      Lab Information
        Lab
        AN CLINICAL LABORATORY


      ED Provider Notes
        Author              Status        LaSt Editor,       Updated                   Created
        Brigitte B Korkuch, Cosign        Brigitte B         5/17/2021 9:37 PM         5/17/2021 7:08 PM
        PA                  Needed        Korkuch, PA
        EmergenCy Depa                 ovid              Enc: 5/   /2021 6:51 PM
       Lindsey Hill MRN:                                              EMERGENCY ROOM

                                                    HPI

       Chief Complaint: Facial Pain (pt had rough sex 2 days ago, and was chocked out for 30 mins.
       pt states vision changes (OD 20/13 OS 20/20) bilateral zygoma pain, right cheek pain.
       buttock bruising. pt doesnt want to fill charges. ) and Rectal Pain


      Lindsey Hill is a 27 y.o. female who presents to the ED after she was physically assaulted while
      having intercourse with a man two days ago. The patient tells me that he became violent and
      started choking her. She tells me that she passed out for what she believes was about 30
      minutes. She now has pain over her cheeks and in her jaw. She has a headache and vomited
      twice today. She also has pain behind her left ear. Current pain 6/10. She took ibuprofen 400
      mg mid day today, with mild improvement. Patient does not want to file police incident report.
      Patient has a history of alcoholism, and has been sober for 18 months.




      Please refer to HPI, remainder of 10 systems reviewed are negative.

      ME0A13 vt .e..411-1:-WZ7-MIPRIVII_PZ.ZZErg.I.A0griza

  Hill, Lindsey (111.1110nted                 by Asal Khosroabadi, LCSW [127075] at 5/17/2... Page 3 of 7
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 57 of 85 Page ID
                                  #:1256


    Name:Hill, Lindsey (1111.111111111.11.                                                             Page 4 of 7


        PMH:
        Past Medical History:
        Diagnosis                                                                               Date
         • Alcoholic (CMS/HCC)

       History reviewed. No pertinent surgical history.

                                                  Take 10 mg by mouth
                                                daily

                                                  Take 600 mg by mouth 2
                                                (two) times a day

                                            )     Take 50 mg by mouth
                                                nightly

       Social:
       Social History

       Tobacco l.4p
        - Smoking status:                         Current Every Day Smoker
        • Smokeless tobacco:                      Never Used
       SulAWCaUse Topics.
        • Alcohol use:                            Not Currently
         • Drug use:                              Not Ciirrently

        Family: History reviewed. No pertinent faMily hiStory.
        Allergies: She has No Known Allergies.
                                                                                       :17

        Vital signs:Temp: 99.4 °F (37.4 °C) Heart Rate: 78 Resp: 18 BP: 126/86 SpO2: 100 %
        Gen: Patient is in NAD, WDWN, responsive.
        HEENT: No palpable skull depressions or cephalohematomas. There is bilateral infraorbital
        ecchymoses, as well as left periorai ecchymoses. +TTP bilateral zygoma, more prominent on
        the left, +TTP left side of mandible. No battles sign. PERRL. EOMI. Nares clear, no nasal septal
        hematoma. Normal oropharynx. No malocclusion. MMM.
        Neck: No midline TTP or stepoffs, no swelling, trachea midline.
        Lungs: Equal breath sounds bilaterally. No increased work of breathing.
        Chest: Normal heart sounds. No chest wall TTP. No crepitus.
        Abdomen: Soft. Nontender. Nondistended. No peritoneal signs. No palpable masses.
        Back: No midline spinal tenderness or stepoffs. No flank tenderness.
        Extr: Well perfused, distal pulses intact. No deformity, swelling, or UP. Full AROM in bilat UE
        and LE.
        Skin: Warm, dry. Facial.ecchymoses as above. There is also ecchymoses over the buttocks
        and the mons pubis and labia.
        Neurologic: GCS 15. Follows commands. Normal speech. No focal motor or sensory deficits.
        Normal gait.


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       to ;11;".:11,:t*It
       Lab results:

       Labs;.RevieWed


   Hill, Lindsey IIIIIIMIrted                          by Asal Khosroabadi, LCSW (127075] at 5/17/2... Page 4 of 7
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 58 of 85 Page ID
                                  #:1257


      Name:Hi11, Lindsey                                                                        Page 6 of 7


              BUN                     11.8
              Creatinine              0.9
              Glucose                 94
              Calcium                 9.1
              GLOMERULAR              >60.0
              FILTRATION RATE
              Anion Gap               10.1


           Imaging results as read by Radiology:
                   •
           Ct Angiogram'Neck W Contrast

          Result Date: 5/17/2021
           Uhrerna?kable.neck CT angiogram. Electronically signed by Harshawn Malhi, M.Q. on 05-17-
          21 at 2131 StatRad Exam Id 6653977


          Labs kimaging..studies/reports reviewed independently by me.
          Interpretation of Results:
            • Chemistry shows no acute renal dysfunction; no significant derangement of electrolytes or
              glucose.
            • Urinalysis shows UTI, culture pending.
            • CTA neck unremarkable.
            • CT maxillofacial and CT head pending.
            • EKG without acute ischemia or dysrhythrnia.


                               COURSE/MEDICALDECISION MAKING
          Course:
          Lindsey Hill presented to the Emergendy Department by walk-in for evaluation. I reviewed the
          nursing notes.

           This is a 27-year-old male who presented to the ED after a physical assault that occurred 2
          days prior to my examination. Patient was alert and appropriately oriented with a nonfocal
          logic examination. She appears to have sustained significant head and facial trauma, and
          reports a strangulation injury and loss of consciousness.
                              /•
          Patient presents !Or evaluation after suffering a minor blunt head trauma. I considered high-risk
          diagnoses such as intracranial hemorrhage, spinal cord injury, acute fracture/dislocation and/or
          concussion.

          Patient is well appearing and neurologically intact with GCS of 15

         Severe headache
         Vomiting x 2 or more
         Signs of basilar skull fx (raccoon eyes, Battle's sign)

         A Head CT was ordered based on positive indicators as stated above. These results, in
         addition to CT maxillofacial for evaluation of facial fractures, are currently pending. CT of the
         neck was obtained secondary to strangulation injury, and showed no acute vascular injury.
         Urinalysis shows findings consistent with urinary tract infection and patient will require
         antibiotics. I will transfer further care of this patient to the attending,



                llilliillit                  ed by Asal Khosroabadi, LCSW [127075] at 5/17/2... Page 6 of 7
    Hill, Lindse
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 59 of 85 Page ID
                                  #:1258


  Name:Hill, Lindsey                                                                           Page 7 of 7




       Final_ diagnoses:
       Acute head injury
       Assault by manual strangulation


        ewgBrescrilitIons;Ye5—nf,V:
        No medications on file


       No follow-up provider specified.


       Portions of this chart may have been created with Dragon voice recognition software.
       Occasional wrong-word or 'sound-alike" substitutions may have occurred due to the inherent
       limitations of voice recognition software. Please read the chart carefully and recognize, using
       context, where these substitutions have occurred.




        Brigitte B Korkuch, PA
        05/17/21 2137


      Print Lab Component
        BMP (Order #223599514) on 5/17/21

      Lab Component SmartPhrase Guide
        BMP (Order #223599514) on 5/17/21


      Additional Information
         Specimen ID                      Bill Type                       Client ID
         21AH137-C147

         Specimen Date   Specimen Time    Specimen        Specimen
         Taken           Taken            Received Date   Received Time   Result Date    Result Time
         May 17, 2021     7:36 PM         May 17, 2021     7:39 PM        May 17, 2021   8:13 PM




     Hill, Lindsey                         ed by Asal Khosroabadi, LCSW [127075] at 5/17/2... Page 7 of 7
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 60 of 85 Page ID
                                  #:1259




                             Exhibit 7
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 61 of 85 Page ID
                                  #:1260




                         L,eh. —
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 62 of 85 Page ID
                                  #:1261




                             Exhibit 8
                          Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 63 of 85 Page ID
                                                            #:1262

 11:40                                            LTE


<0
                           Trevor >
             -      S




 Me trying to use the force to heal you

                      Yesterday 9:21 PM


 Thinking about you linds. You doin ok?

                         Text Message
                        Today 11113 AM


 Thinking about you linds. You doin ok?

                          iMessage


            Hi TB     I had a tough day yesterday was
            mostly just sleeping


 Do you want to talk about it? Here for you
 if you do and to help in any way I can

                 Yeah honestly hearing your voice would
                 help

                         Let me know when I can call —


 Ok give me a couple minutes

                                          Kk sounds good

                                                   Delivered




      (6)004t4506
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 64 of 85 Page ID
                                  #:1263




                             Exhibit 9
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 65 of 85 Page ID
                                  #:1264
                   8:48                                                  .6i


              <0                                TB
                                            Trevor >


                              They said the bruises/swelling on my face
                              & jaw will be gone in about 1 week and
                              then for the head symptoms im not sure
                              probably a week ish too. Its better it just
                              makes me wanna sleep a l0000t

                                                 I just want it all to go away


                  I feel so bad that this happened. Wish I
                  could be there with you through it

                                        Today 4:39 PM


                              Just grateful that you are showing that you
                              care
                                                                                        L
                                                                               Delivered

                  I do. I absolutely do. Never want to see you
                  hurting 4*




                                                                 r
                                 'Pay
                                                                 OVJ''

              QWE                   R       T        Y       U       I         O        P
                          /




                  A       S    D        F       GH               J        K        L

              t           Z     X       CV               B       NM

                   123                      space                              return
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 66 of 85 Page ID
                                  #:1265
                   1:15                                                                      LTE       I.


              <0                                             TB
                                                         Trevor >

                                                     Yesterday 4:39 PM


                                        Just grateful that you are showing that you
                                        care

                                                                                             Delivered

                  I do. I absolutely do. Never want to see you
                  hurting
                              10
                                   0
                                       110
                                                      Today 12:47 PM




                          /



                  Me trying to use the force to heal you




                                             liPay                    rd



             QWE                                 R       T        Y        U         I       O         P

                  A       S                  D       F       GH                  J       K         L
                                                                           •-•




              *           Z                  X       CV               B        NM

                    2--                                  space                               return
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 67 of 85 Page ID
                                  #:1266




                           Exhibit 10
                                Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 68 of 85 Page ID
                                                                  #:1267

     9:35                                                 all.LTE       .


                             Voicemail

     phone


                                                            6/9/21
     unknown                                                00:29


     Trevor Bauer
     phone
     May 17, 2021 at 11:18 PM

  SO:00                                                          -0:14


                                             4))
                                                          O
     Transcription Beta
     "Hey just wanted to check in and see how you're doing
      urn obviously I'm worried about you so if you give me a
      text or call back whenever you have a chance I just like
      to talk to           let me know bye..."
     Was this transcription useful or not useful?


     Marylou                                               4/25/21 (--,
     phone                                                   01:14 \•±1
                                                                     -


     +1 IMINIIIMINI                                        4/23/21 (7)
     San Diego, CA                                           00:37 \----`1


     Lisa glilli                                           4/21/21 (7)
     home                                                   00:45 2--- i


     +1 0101.11010                                          4/9/21 (7,-)
     Strawberry, AR                                         00:44 ..-'--).


     +1 elliMININ                                           4/8/21
     Bell City, LA                                          00:44


     +1 tleallillill.                                       4/7/21 r .-
     United States                                          0(i a -1 2•-i•
                                                    050
                                                    060
 *                  0             Q                 000         CLO
Favorite‘          Recants      Cnotaci,        Keypal!        Voicemall
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 69 of 85 Page ID
                                  #:1268




                           Exhibit 11
                      Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 70 of 85 Page ID
                                                        #:1269

 12:06                                        iS• NI


<©
                       Trevor )


                      iMessage
                    Today 11:57 AM


Hey you. Hoping you slept well and are
feeling better. I know you said you'd been
staying home and haven't been able to do
much. Was wondering if it would be helpful
if I sent you some stuff? Like groceries or
desserts or something? Just trying to think
of ways I can help




     0 Cli) 0 At'                      r
                                              0
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 71 of 85 Page ID
                                  #:1270




                           Exhibit 12
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 72 of 85 Page ID
                                  #:1271



              R I-&- :=•.LTH
   Forensic Health Services
                                ForensiC Health Services
                 121 N. Fig Street,                      (760)739-2150
                                    Escoridido CA 92025.
                               SART AFTER CARE INSTRUCTIONS
          A Sexual Assault Nurse Examiner has
                                               examined you.
          Forensic specimens were collected and submitted to law enforcement.
          Please contact the assigned detective •if                                          or
          about the investigation.                  yob.have any questions about these tests
          Case # 21023224
                                       Detective: Off Morales


          Medications Given Today
            11] None Reason
            ❑ Rocephin 250mgs Intramuscular injection                                Site:    Time:
            DAzithromycin 1 gm oral:Time' 68'20
            El Levonorgestrel 1.5 mg P0:Time0615                     :one tab po Time:
            0Truvada 300/200 mg PO, Raltegavir 400 mii p        imael
                                                       iuoliPriTst
            Erodansetron 4mg ODT Time:
           ❑ nPEP Starter Pack: Time:
              Truvada 300/200 mg 1 tab PO Daily (3 tabs) Raltegavir   mg PO BID (6 tabs)
              Ondansetron 4mg 1 tab ODT PRN Daily (6.;,tabs)        -
                        nPEP Education+)rovidl,VOliiied at this time, may accept trieds until:
         Testi74

          •   Pregnancy urine test results:' Negative
          •   Specimens collected for medical testing No
                  o    You will be notified of abnormal results-For Questions call 750-739-2150


          Helpful Information

          • Warm soaks for soreness in genital area. Do not.use harsh soaps when washing the
            genital area.
          • Drink lots of fluids: Cranberry juice and water are excellent.
          • Wear loose clothing: cotton underwear to allow for good air circulation to genital areas.
          • If menstruating, use peri-pad not tampons.
          • Soreness and bruising:These may get worse over the next couple of days. If you notice
            any new bruising, please call the SART office.
          • Any fever/increase of pain or any concerns, please contact your primary medical doctor.
          • Call 911 for any medical emergencies.




Hill                              Lindsey

                                                              05-18-2021
       SART AFTERCARE DISCHARGE INSTRUCTIONS 09/2017
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 73 of 85 Page ID
                                  #:1272



                 Name: Lindsey C Hill DOB: 5/10/1994 MRN: 607977611 1 PCP: Varinthrej Pitis, MD




     Progress Notes
     Varinthrej Pitis, MD at 06/03/21 1530

                                      Cy Scripps
                                      Scripps Clinic Carmel Valley
                                        3811 Valley Centre Drive
                                           San Diego, CA 92130

     Na    • -          Hill




    NP:
    Lindsey is a 27 y.o. female with recent head trauma c/b LOC 2/2 physical assault in 05/2021,
    anxiety/depression, h/o alcohol abusing habit (now sober for since 12/2019), and h/o suicidal
    attempt via tylenol OD, who presents for an office visit for UC/ED f/u. PCP Varinthrej Pitis, MD.
    Last seen by me via in-office visit on 01/28/2020.

    Visit Diagnosis es
    Confirmed victim of physical abuse in adulthoOd, subsequent encounter (Primary)
        Overview:
            Per patient: same perpetrator, initial assault in 04/2021 w/ strangulation during sex and 2nd
            incident on 05/16/2021 w/ head and body trauma from closed-fist punches resulting in
            concussion w/ LOC and extensive bruising. Police report filed and case is being built.
            Perpetrator is a well-known baseball athlete.

       Assessment & Plan:
          Repeat STD screen.
          Emotional support offered.

       Orders:
          MRI brain without contrast; Future; Expected date: 06/03/2021
          MRI face without contrast; Future; Expected date: 06/03/2021
          CBC with Differential order; Future; Expected date: 06/03/2021
          Comprehensive metabolic panel; Future; Expected date: 06/03/2021
          Herpes simplex virus antibody, IgG 1 & 2; Future; Expected date: 06/03/2021

   Head injury with loss of consciousness (CMS/HCC)
      Overview:
         Assault incident on 05/16/2021. P/w "severe headache, vomiting x2 or more, signs of
         basilar skull fx (racoon eyes, battle's sign" per ED note on 05/17/2021 on CareEverywhere.
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                                  #:1273

              CT brain wlo acute fracture or intracranial bleed; CT angio neck wlo dissection; CT
              maxillofacial w/o Fx (05/17/2 021). Residual Sx: HA, dizziness, tinnitus, photophobia,
              sleepiness, and L jaw pain.

           Assessment & Plan:
              Exam w/o focal neurological finding. AOx3 w/ normal articulation.
              Educate on clinical expectation after concussion w/ LOC,
              Follow up MRI as ordered
              Neurology referral placed.

          Orders:
          - MRI brain without contrast; Future; Expected date: 06/03/2021
          - Ambulatory referral to Neurology; Future; Expected date: 06/03/2021

       Jaw pain, non-TMJ
          Overview:
             Painful w/ mastication and opening mouth. No loose tooth. Suspected residual healing
             contusion but will r/o undetected Fx on CT

          Assessment & Plan:
           ..=:MRI as ordered
            `Recommend evaluation by dentist +/- dental x-ray

         Orders:
         - MRI face without contrast; Future; Expected date: 06/03/2021

      Recurrent major depressive disorder, in partial remission (CMS/HCC)
        Overview:
            Active c/b anxiety and PTSD 2/2 acute life changing event as victim of physical abuse. Sx:
            insomnia, increased anxiety, daytime somnolence, decreased appetite. No SI/HI. Currently
            on LOA until 07/31/2021 by outside provider. Mood previously well controlled. Compliant w/
           Lexapro 10daiy and Trazodone 50qHS. Inbetween mental health provider.

         Assessment & Plan:
            Psychological condition is worsening.
            Continue current treatment regimen. and to establish care w/ new mental health providers,
           both psychiatrist and psychotherapist.
           Psychological condition will be reassessed in 4 weeks.
           Agree w/ LOA from work for 3 months
           Has good psychosocial support.
           Aware that she needs trauma specialist.
           Low risk of self- and others-harm

           Information below provided:
           Scripps Behavioral Health Inpatient: 619-260-7005
           Scripps EAP: 858-626-7450
           Scripps Behavioral Health Intranet:
           Scrippshealth.sharepoint.com/sites/ScrippsConnect/SitePages/Behavioral-Health-
           Resources.aspx

           The best way to find a psychiatrist (that is covered by your insurance) is as follows.

           Psychiatrists:
           Dr. Anoop Karippot at 10755 Scripps Poway Pkwy Ste 455, San Diego, CA, 92131 Tel.858-
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 75 of 85 Page ID
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               Simple cyst on thyroid u/s (07/2018). No additional work up recommended.


        Preventative health care
              CBC with Differential order; Future; Expected date: 06/03/2021
              Comprehensive metabolic panel; Future; Expected date: 06/03/2021
           - Hemoglobin A1c; Future; Expected date: 06/03/2021
              Lipid Panel w/reflex to Direct LDL if indicated; Future; Expected date: 06/03/2021
              Thyroid stimulating hormone; Future; Expected date: 06/03/2021
              Vitamin D 25 hydroxy; Future; Expected date: 06/03/2021
              Urinalysis with Microscopic Culture if Indicated; Future; Expected date: 06/03/2021

       Follow up instruction
       In 4 weeks


       The primary encounter diagnosis was Confirmed victim of physical abuse in adulthood,
       subsequent encounter. Diagnoses of Head injury with loss of consciousness (CMS/HCC), Jaw
       pain, non-TMJ, Recurrent major depressive disorder, in partial remission (CMS/HCC), Screening
       for STDs (sexually transmitted diseases), History of alcohol abuse, History of suicide attempt,
       Thyroid cyst, and Preventative health care were also pertinent to this visit.


       S:
       HPI

       Medical record from Alvarado Hospital Medical Center reviewed in detail.

       05/16/2021
       - s/p physically abused w/ LOC during sex, unable to recall well
       - closed fist punch on cheek bone and jaw and groin
       - went to ED at Alvarado Hospital Medical Center on 05/17/2021: CT brain w/o acute fracture and
       bleed; CT angiogram; CT maxillofacial
       Per ED note "severe headache, vomiting x2 or more, signs of basilar skull fx (racoon eyes, battle's
       sign"
       - the guy is an athlete; 1st time in 04/2021

       Still has pain on right jaw, unable to open mouth

       # PTSD
       - poor sleep 2/2 anxiety, nap during the day.
       - unable to eat, poor appetite
       - taking lexapro
       - LOA from work right now

       Staying sober x1 year on 06/02/2021

       Review of Systems - see HPI

       Patient Active Problem List
       Diagnosis
        • Recurrent major depressive disorder, in partial remission (CMS/HCC)
        • History of alcohol abuse
        • Chronic midline back pain.
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                                  #:1275


        Appearance: Normal appearance. She is well-developed, well-groomed and normal weight. She .
      is not al-appearing, toxic-appearing or diaphoretic.
      HENT:
        Head: Normocephalic.
        Jaw: Tenderness present.




                           A   L

       Comments: Tender over area circled. Faint residual bruising under L eyelid
       Right Ear: Tympanic membrane, ear canal and external ear normal.
       Left Ear: Tympanic membrane, ear canal and external ear normal.
        Nose: Nose normal.
        Mouth/Throat:
        Lips: Pink.
        Mouth: Mucous membranes are moist.
        Dentition: No dental tenderness.
        Comments: No loose tooth
      Eyes:
        General: Lids are normal. No sclera' icterus.
        Extraocular Movements: Extraocular movements intact.
        Conjunctiva/sclera: Conjunctivae normal.
      Neck:
        Thyroid: No thyroid mass or thyromegaly.
      Cardiovascular:
        Rate and Rhythm: Normal rate and regular rhythm.
        Heart sounds: Normal heart sounds.
      Pulmonary:
        Effort: Pulmonary effort is normal.
        Breath sounds: Normal breath sounds and air entry.
      Musculoskeletal:
        Cervical back: Full passive range of motion without pain, normal range of motion and neck
      supple.
      Neurological:
        Mental Status: She is alert.
      Psychiatric:
        Attention and Perception: Attention normal.
        Mood and Affect: Mood is anxious.
        Speech: Speech normal.
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     Behavior: Behavior is not agitated, slowed, aggressive, withdrawn, hyperactive or combative.
    Behavior is cooperative.
     Thought Content: Thought content normal. Thought content is not paranoid or delusional.
    Thought content does not include homicidal or suicidal ideation. Thought content does not include
    homicidal or suicidal plan.
     Judgment: Judgment normal.
     Comments: Appropriate affect and behavior considering the event patient just underwent


    Total Time Spent on Patient Care (Face to Face & Non Face to Face): 55 min

    (Includes preparing to see the patient, obtaining and/or reviewing separately obtained history,
    performing a medically appropriate examination and/or evaluation, counseling and educating the
    patient /family/caregiver, ordering medications, tests, or procedures, referring and communicating
    with other health care professionals, documenting clinical information in the electronic record,
    independently interpreting results and communicating results to the patient/family/caregiver, and
    care coordination)

    I have an ongoing, continuous relationship with this patient. I am managing some or all of the
    patient's conditions across a spectrum of diagnoses and organ systems and serve as focal point
    of care for the patient's overall health needs with consistency and continuity over time. This
    includes expected oversight, communication, and active monitoring outside of office visits.

    This is encounter-based documentation as allowed by CMS changes for 2020 and later.
    Documentation in the electronic record is not repeated in the note, but has been reviewed as
    indicated in the record. Vitals, Chief Complaint, Allergies, Medications, Review of Systems,
    Family, Social, Medical, and Surgical history, Labs, Results, Studies, Flowsheets, Outside
    Records, Patient originated data reviewed and updated in the encounter as needed. All the above
    is to be included for any coding purposes.

    During the visit, the patient attested verbally that they were physically in the state of California.
    This visit was performed using interactive audio and visual telecommunications system.




    Varinthrej Pitis, MD
    Division of Internal Medicine
    Scripps Clinic Carmel Valley


    Patient Instructions
    Varinthrej Pifis,,MD at 06/03/21 1530
    Scripps Behavioral Health Inpatient: 619-260-7005
    Scripps EAP: 858-626-7450
    Scripps Behavioral Health Intranet:
    Scrippshealth.sharepoint.corn/sites/ScrippsConnect/SitePages/Behavioral-Health-
    Resources.aspx
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                                  #:1277




                                                                                   Alvarado Hospital
  AFTER VISIT SUMMARY                                                              Medical Center
  Lindsey Hill MEM                                               n 5/17/2021 9 All Emergency Room 619-229-3130

  Instructions
          Follow up with AH Emergency Room
          Specialty: Emergency Medicine
          Contact: 6655 Alvarado Road
                   San Diego California 92120-5208
                   619-229-3130


  -n      Schedule an appointment with No PCP, MD as soon as porible for a visit



  Today's Visit
  Providers who cared for you today. Brigitte B Korkuch, PA
  Reason for Visit
  • Facial Pain,
  • ReCtal Pain
   Diagticises'
   .• Acute bead injury
   • Assault by manual strangulation

   24 Lab Tests Completed
      BMP
      POCT pregnancy, urine
      POCT urinalysis dipstick
      URINALYSIS, MICROSCOPIC ONLY
      Urinalysis

  SE Lab Tests in Progress
      CULTURE URINE

   ID Imaging Tests
      CT Angiogram Neck W Contrast
      CT Head without Contrast
      CT Maxillofacial Bones without Contrast
   A Medications Given
      ibuprofen (ADVIL,MOTRIN) Last given at 10:27 PM
      iohexol (OMNIPAQUE) Last given at 9:06 PM
      sodium chloride 0.9% (NORMAL SALINE) Stopped at 8:53 PM




  Lindsey Hill (11.11krinteri              at 5/17/21 10:46 PM                                 Page 1 of 5 Epic
Case 8:22-cv-00868-JVS-ADS Document 52-2 Filed 09/13/22 Page 79 of 85 Page ID
                                  #:1278


     Hill, Lindsey (111.11111.111110



       CT Head without Contrast
       Status: Final result

       PACS Images
          A Show images for CT Head without Contrast


       Study Result
          EXAM:
           CT Head Without Intravenous Contrast

          CLINICAL HISTORY:


          Head trauma, repeat vomiting

          TECHNIQUE:
           Axial computed tomography images of the head/brain without intravenous
          contrast. CTDI is 70.55 mGy and DLP is 1443 mGy-cm. Numerous low-
          radiation dose strategies were employed including AEC (Automatic Exposure
          Control), individualized BMI-based low dose scan protocols and the exam
          was performed on a CT scanner that is compliant with the NEMA XR-29 Smart
          Dose Standard. DICOM Radiation Dose Structured Reporting capability and
          Dose Check Standard are also features of this scanner.

          COMPARISON:
           No relevant prior studies available.

          FINDINGS:
            Brain: No acute intracranial hemorrhage, mass effect or evidence of
          intracranial edema.
            Ventricles: Unremarkable.
           Bones/joints: Unremarkable. No acute fracture.
           Soft tissues: Unremarkable.
           Sinuses: Unremarkable as visualized.
           Mastoid air cells: No mastoid effusion.
           Orbits: Symmetric.

          IMPRESSION

         No acute intracranial process.

         Electronically signed by Harshawn Malhi, M.D. on 05-17-21 at 2159

         StatRad Exam Id 6654059

       Imaging
         CT Head without Contrast (Order: 223599510) - 5/17/2021

       Result History                                                                   _ _
         CT Head without Contrast (Order #223599510) on 5/17/2021 - Order Result History Report

       Link to IMG Procedure Log
         IMG Procedure Log

       Orders Requiring a Screening Form


     Hill, Lindsey                          inted by [124810] at 5/17/21 11:21 PM
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                                  #:1279


      Hill, Lindsey (


          Procedure                            Order Status                       Form Status
          r CT Head without Contrast           Completed                          Created

        Signed by
          Signed                                      Date/Time              Phone              Pager
          MALHI. HARSHAWN—                            5/17/2021 21:59        858-546-3800

        Exam Information
                                                              Exam                        Exam
          Status                                              Begun                       Ended
          Final [99]                                          5/17/2021 20:22             5/17/2021 20:59

        IMG Transfer Details
          Transfer Details:
          Please
          answer the
          below
          questions
          about the
          transfer.:

        External Result Report                                 t9 Encounter
           External Result Report                                View Encounter

        End Exam Questions
                                               Answer                           Comment
            # of repeat films      •
           Reason for repeat films?
           CTDI:                              70.55
           DLP:                               1443
           Did you shield the patient
           How was the patient shielded
           during exam?
          Isotope expiration date?
          Isotope lot #?
          Was procedure discontinued?
          Procedure was discontinued
          Reason procedure was
          discontinued

       Order Requisition
          CT Head without Contrast (Order #223599510) on 5/17/21

       Decision Support

         Appropriateness
         Score                Ordering Provider
         9 - Indicated        Brigitte B Korkuch,
                              PA



     Hill, Lindsey (IIIIIIIMPrinted                 by [124810] at 5/17/21 11:21 PM
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      Hill, Lindsey (ik:(IR fir 308684338) DOB: 05/10/1994



          Session ID        Source              CDSM Identifier              Adherence
          183411973         Web Service         National Decision Support    Yes (ME)
                                                Company CareSelect (G1004)

          Date Time
          Consulted         Exception           Comment
          05/17/21 19:20:50

       Reason for Exam                                                                   STAT
          Head trauma, repeat vomiting (Age 19-64y)
          Comments:




    Hill, Lindsey ClaP 1086S4318) iriattti y [124810] at 5/17/21 11:21 PM
                    . _
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          Albumin, Urine POC
          Specimen Collected: 05/17/21 19:13                 Last Resulted: 05/17/21 19:20

           g r Lab Flowsheet J Order Details 'r View Encounter V Lab and Collection Details       n
                                                                                             Routing
                                                                                      9 Result History


            POCT pregnancy, urine                                                             Order: 223599499
         Status: Final result Visible to patient: No (not released) Next apps None                        rwremea",-2.1.



                                     Ref Range & Units          5/17/21 1912
         Preg Test, Ur               Negative,  Borderline      Negative

          Specimen Collected: 05/17/21 19:12                 Last Resulted: 05/17/21 19:20

              e Lab Flowsheet .0 Order Details AP View Encounter       V Lab and Collection Details n Routing
                                                                                              0 Result History

       Lab Information
         Lab
         AH CLINICAL LABORATORY


       ED Provider Notes
         Author              Status -      Last Editor ,    !Updated    •             Created
         Brigitte B Korkuch, Cosign        Brigitte B        5/17/2021 9:37 PM        5/17/2021 7:08 PM
         PA                  Needed        Korkuch, PA
         Emergenay Depa                  ovider Note. Enc: 5/17/2021 6:51 PM
         Lindsey Hill MRN:                                       H EMERGENCY ROOM

                                                     HPI

        Chief Complaint: Facial Pain (pt had rough sex 2 days ago, and was chocked out for 30 mins.
        pt states vision changes (OD 20/13 OS 20/20) bilateral zygoma pain, right cheek pain.
        buttock bruising. pt doesnt want to fill charges. ) and Rectal Pain


       Lindsey Hill is a 27 y.o. female who presents to the ED after she was physically assaulted while
       having intercourse with a man two days ago. The patient tells me that he became violent and
       started choking her. She tells me that she passed out for what she believes was about 30
       minutes. She now has pain over her cheeks and in her jaw. She has a headache and vomited
       twice today. She also has pain behind her left ear. Current pain 6/10. She took ibuprofen 400
       mg mid day today, with mild improvement. Patient does not want to file police incident report.
       Patient has a history of alcoholism, and has been sober for 18 months.


                                        "'',REVIEW:0FfSYSTEMS

       Please refer to HPI, remainder of 10 systems reviewed are negative.

                                                 VIEMB



  Hill, Lindsey                           rated by Asal Khosroabadi, LCSW [127075] at 5/17/2... Page 3 of 7
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                                  #:1282


    Name:Hill, Lindsey IIIIIIOIIIIIIPIIIIM                                                                             Page 4 of 7


        PMH:
        Past Medical History:
        Diagnosis                                                                                               Date
         • Alcoholic (CMS/HCC)

        History reviewed. No pertinent surgical history.
        gieViiiiiMealatidrit YI;. .....p...
                                   57e,f4Oi4:- :'• -V --M'''iM




   II
                                            Take 10 mg by mouth
                                        daily

                                       Take 600 mg by mouth 2
                                     (two) times a day

                                       Take 50 mg by mouth
                                     nightly

        Social:
        Social History

        Tobacco Use
         • Smoking status:             Current Every Day Smoker
         • Smokeless tobacco:          Never Used
        putiita690 USe Tbpics
         • Alcohol use:                 Not Currently
          • Drug use:                   Not Currently

         Family: History reviewed. No pertinent family history.
         Allergies: She has No Known Allergies.
                                    P.HYSlCALEXAMINA TION

        Vital signs:Temp: 99.4 (37.4 °C) Heart Rate: 78 Resp: 18 BP: 126/86 SpO2: 100 %
        Gen: Patient is in NAD, WDWN, responsive.
        HEENT: No palpable skull depressions or cephalohematomas. There is bilateral infraorbital
        ecchymoses, as well as left perioral ecchymoses. +TTP bilateral zygoma, more prominent on
        the left. +TTP left side of mandible. No battles sign. PERRL. EOM I. Nares clear, no nasal septal
        hematoma. Normal oropharynx. No malocclusion. MMM.
        Neck: No midline UP or stepoffs, no swelling, trachea midline.
        Lungs: Equal breath sounds bilaterally. No increased work of breathing,
        Chest: Normal heart sounds. No chest wall TTP. No crepitus.
        Abdomen: Soft. Nontender. Nondistended. No peritoneal signs. No palpable masses.
        Back: No midline spinal tenderness or stepoffs. No flank tenderness.
        Extr: Well perfused, distal pulses intact. No deformity, swelling, or UP. Full AROM in bilat UE
        and LE.
        Skin: Warm, dry. Facial.ecchymoses as above. There is also ecchymoses over the buttocks
        and the mons pubis and labia.
        Neurologic: GCS 15. Follows commands. Normal speech. No focal motor or sensory deficits.
        Normal gait.


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                                       Vnii ...A.:.,k0s.):...'7.::+a-eViSS 4-2..t.t::4-W,';1 1,7,2V   elk‘,:-
        Lab results:

        (d6s RevipiA(*)...,


   Hill, Lindsey                         ted by Asal Khosroabadi, LCSW [127075] at 5/17/2... Page 4 of 7
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              BUN                     11.8
              Creatinine              0.9
              Glucose                 94
              Calcium                 9.1
              GLOMERULAR              >60.0
              FILTRATION RATE
              Anion Gap               10.1


           Imaging results as read by Radiology:

           Ct Angiogram Neck W Contrast

                    e: 5/1 221
                       6 ne
                          7/ck0 CT angiogram. Electronically signed by Harshawn Malhi, M.Q. on 05-17-
             at 2131 StatRad Exam Id 6653977


          Labs &imaging studies/reports reviewed independently by me.
          Interpretation of Results:
            • Chemistry shows no acute renal dysfunction; no significant derangement of electrolytes or
              glucose,
            • Urinalysis shows UTI, culture pending.
            • CTA neck unremarkable.
            • CT maxillofacial and CT head pending.
            • EKG without acute ischemia or dysrhythmia.


                             -', COURSE/MEDICALDECISION -MAKING
          Course:
          Lindsey Hill presented to the Emergency Department by walk-in for evaluation. I reviewed the
          nursing notes.

          This is a 27-year-old male who presented to the ED after a physical assault that occurred 2
          days prior to my examination. Patient was alert and appropriately oriented with a nonfocal
          logic examination. She appears to have sustained significant head and facial trauma, and
          reports a strangulation injury and loss of consciousness.

          Patient presents for evaluation after suffering a minor blunt head trauma. I considered high-risk
          diagnoses such as intracranial hemorrhage, spinal cord injury, acute fracture/dislocation and/or
          concussion.

         Patient is well appearing and neurologically intact with GCS of 15

         Severe headache
         Vomiting x 2 or more
         Signs of basilar skull fx (raccoon eyes, Battle's sign)

         A Head CT was ordered based on positive indicators as stated above. These results, in
         addition to CT maxillofacial for evaluation of facial fractures, are currently pending. CT of the
         neck was obtained secondary to strangulation injury, and showed no acute vascular injury.
         Urinalysis shows findings consistent with urinary tract infection and patient will require
         antibiotics. I will transfer further care of this patient to the attending.




    Hill, Lindsey                       rinted by Asal Khosroabadi, LCSW [127075] at 5/17/2.,. Page 6 of 7
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      Final diagripses
      Acute head injury
      Assault by manual strangulation



        No medications on file


       No follow-up provider specified.


       Portions of this chart may have been created with Dragon voice recognition software.
       Occasional wrong-word or "sound-alike" substitutions may have occurred due to the inherent
       limitations of voice recognition software. Please read the chart carefully and recognize, using
       context, where these substitutions have occurred.




        Brigitte B Korkuch, PA
        05/17/21 2137


      Print Lab Component
        BMP (Order #223599514) on 5/17/21

      Lab Component SmartPhrase Guide
        BMP (Order #223599514) on 5/17/21


      Additional Information
        Specimen ID                         Bill Type                        Client ID
        21AH137-C147

         Specimen Date      Specimen Time   Specimen        Specimen
         Taken              Taken           Received Date   Received Time_   Result Date    Result Time
         May 17, 2021        7:36 PM        May 17, 2021    7:39 PM          May 17, 2021   8:13 PM




     Hill, Lindsey (IIW',     J6710131
                               I4           nted by Asal Khosroabadi, LCSW [127075] at 5/17/2... Page 7 of 7
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